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      1
      2                       UNITED STATES DISTRICT COURT
      3                      CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
      4
      5 K-TECH                                                  CASE NO. CV12-05316 RGK (RZx)
        TELECOMMUNICATIONS, INC.,
      6
      7                                Plaintiff,               UPDATED MEMORANDUM IN
                                                                SUPPORT OF DEFENDANTS’
      8
          vs.                                                   MOTION FOR PARTIAL
      9                                                         SUMMARY JUDGMENT*
       BLONDER TONGUE
    10
       LABORATORIES, INC.; R.L.                                 Date:             August 26, 2013
    11 DRAKE HOLDINGS, LLC; R.L.                                Time:             9:00 AM
       DRAKE, LLC; AND RLD ‘69, LLC,                            Place:            Court Room 850
    12
                                                                                  Judge R. Gary Klausner
    13                                 Defendants.
    14
    15 #959429
    16
                 Defendants have moved for partial summary judgment, and submit this
    17
          memorandum in support.
    18
    19
       *The content of this memorandum is identical to that served previously, except
    20 that references to documents having Document numbers struck by the Court have
    21 been changed to reflect their identity by Exhibit letters and numbers referring to
       Exhibits refiled with this document.
    22
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      1 I.     LEGAL STANDARDS
      2        A.     Summary Judgment Is Only Proper Absent Genuine Disputes.
      3        Summary judgment is proper only where the evidence “shows that there is
      4 no genuine dispute as to any material fact and the movant is entitled to judgment
      5 as a matter of law.” Fed. R. Civ. P. 56(a); see Anderson v. Liberty Lobby, Inc.,
      6 477 U.S. 242, 247-248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A dispute about
      7 a material fact is “genuine” only if “the evidence is such that a reasonable jury
      8 could return a verdict for the nonmoving party.” Id. A party opposing a properly
      9 supported motion for summary judgment “‘may not rest upon the mere
    10 allegations or denials of his pleading, but . . . must set forth specific facts showing
    11 that there is a genuine issue for trial.’” Id. (quoting First National Bank of
    12 Arizona v. Cities Svc. Co., 391 U.S. 253, 88 S. Ct. 1575, 20 L. Ed. 2d 569
    13 (1968)). “If the evidence [in opposition] is merely colorable, or is not
    14 significantly probative, summary judgment may be granted.” Id. at 249-50
    15 (citations omitted).
    16         B.     Previously Known Inventions Are Unpatentable.
    17         Claims are invalid if they are either anticipated or obvious in view of the
                                                            1
    18 prior art. 35 U.S.C. §§ 102, 103 (2012). If all of the elements of a claim are
    19 found in a single reference, then the claim is invalid as being “anticipated” by the
    20 prior art reference. In re Paulsen, 30 F.3d 1475, 1479 (Fed. Cir. 1994). A
    21 reference is considered to disclose the subject matter that is either expressly or
    22 inherently disclosed in that document. Atlas Powder Co. v. Ireco Inc., 190 F.3d
    23 1342, 1347 (Fed. Cir. 1999). If an element is not expressly disclosed in a prior art
    24 reference, the reference still anticipates a subsequent claim if a person of ordinary
    25 skill in the art would recognize that the missing element is necessarily present in
    26
    27 1 Sections 102 and 103 of Title 35 were significantly amended as part of the
       America Invents Act of 2011 (“AIA”). The pre-AIA versions apply to K-Tech’s
    28
       claims, and all references herein are to the prior versions.
                                                                1
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      1 the reference. PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342,
      2 1371-1372 (Fed.Cir.2007).
      3        Furthermore, a claim is invalid if, prior to the alleged invention, “the
      4 invention was made in this country by another inventor who had not abandoned,
      5 suppressed, or concealed it.” 35 U.S.C. § 102(g)(2). Commercialization is one
      6 “convenient way[]” to prove an invention has been disclosed to the public, rather
      7 than abandoned, suppressed, or concealed. Fox Group, Inc. v. Cree, Inc., 700
      8 F.3d 1300, 1306 (Fed. Cir. 2012). “[R]easonable efforts to bring the invention to
      9 market” negate any inference that the invention was abandoned, suppressed, or
    10 concealed. Checkpoint Sys., Inc. v. U.S. Int’l Trade Comm’n, 54 F.3d 756, 762
    11 (Fed. Cir. 1995). Such reasonable efforts can span several years. See id. (four
    12 years). At summary judgment, the party asserting a § 102(g) defense need only
    13 show prior invention, which shifts the burden of production to the patentee to
    14 create an issue about whether the prior inventor suppressed or concealed. Apotex
    15 USA, Inc. v. Merck & Co., Inc., 254 F.3d 1031, 1037 (Fed. Cir. 2001).
    16         C.    Obvious Variations on the Prior Art Are Unpatentable.
    17         If a claim is an obvious variation of a prior reference, or an obvious
    18 combination of elements found in prior references, it is invalid under § 103. KSR
    19 Int’l Co. v. Teleflex Inc., 550 U.S. 398, 127 S. Ct. 1727, 167 L. Ed. 2d 705
    20 (2007). In short, a “combination of familiar elements according to known
    21 methods is likely to be obvious when it does no more than yield predictable
    22 results.” Id. at 416. And while an explicit teaching, suggestion, or motivation is a
    23 “helpful insight” in the obviousness analysis, “a court can take account of the
    24 inferences and creative steps that a person of ordinary skill in the art would
    25 employ,” KSR, 550 U.S. at 418, and should not “deny fact finders recourse to
    26 common sense,” id. at 421.
    27
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      1        D.     Rule 30(b)(6) Deposition Statements Bind the Organization.
      2        Under Federal Rule of Civil Procedure 30(b)(6), corporations have an
      3 affirmative duty to provide a witness who can provide complete, knowledgeable,
      4 and binding testimony on the corporation’s behalf. Ecclesiastes 9: 10-11-12, Inc.
      5 v. LMC Holding Co., 497 F.3d 1135, 1146 (10th Cir. 2007). Thus, an
      6 organization that does “not provide a well-prepared witness for its 30(b)(6)
      7 witness . . . will be bound by his deposition at trial and will not be allowed to
      8 enlarge his testimony at trial regarding information he professed not to know
      9 during his deposition.” Newport Elecs., Inc. v. Newport Corp., 157 F. Supp. 2d
    10 202, 213 (D. Conn. 2001).
    11         Similarly, “the lack of knowledge answer is itself an answer which will
    12 bind the corporation at trial” and “a corporation which provides a 30(b)(6)
    13 designee who testifies that the corporation does not know the answers to the
    14 questions ‘will not be allowed to change its answer by introducing evidence at
    15 trial.’” QBE Ins. Corp. v. Jorda Enters., Inc., 277 F.R.D. 676, 690 (S.D. Fla.
    16 2012) (citation omitted); id. at 700 (“QBE is precluded from taking a position at
    17 trial, including the introduction of testimony and exhibits, on those issues for
    18 which Mr. O’Brien was unable to provide 30(b)(6) testimony.”); see also id. at
    19 687-691 (outlining the purposes and doctrine regarding Rule 30(b)(6)).
    20         Steve Kuh was produced as the designated witness for the July 9, 2013
    21 deposition of K-Tech, on all noticed topics. (See Ex. 5, K-Tech Dep. 11: 1-4.)
    22 Kuh had not seen the deposition topics prior to the start of the deposition (id. at
    23 10:12-24), and did no preparation (e.g., id. at 179:4-21). K-Tech cannot now
    24 provide contrary positions for topics which it was not knowledgeable about at
    25 deposition.
    26
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      1 II.     K-TECH’S PATENTS CLAIMS ARE ANTICIPATED BY OR ARE
      2         OBVIOUS VARIATIONS ON THE IDEAS OF OTHERS, AND ARE
                INVALID.
      3
                A.     Digital Television Signals Include Descriptive Data Like PSIP.
      4         Digital television signals travel through the air or over wired connections
      5
          as a waveform. The waveform can be converted to a stream of bits through a
      6
          process called demodulation. (Conversely, bits can be converted to a waveform
      7
          by modulation.) In most digital television signal formats, these bits are in a
      8
          compressed format based on MPEG-2. MPEG-2 is a standard transmission format
      9
          that contains packetized information for audio, video, and data related to the
     10
          audio and video sent in the transport stream. The process of separating out
     11
          various packets from a stream is generally called demultiplexing. (Conversely,
     12
          combining various packets is multiplexing.)
     13
                The American Television Systems Committee (ATSC) approved, in
     14
          December 1997, standard A/65 defining Program and System Information
     15
          Protocol (PSIP) information for digital television. (See Ex. 1, Pierce Decl. ¶ 9 and
     16
          Ex. G.) PSIP is “a collection of hierarchically-associated tables each of which
     17
          describes particular elements of typical digital TV services.” (Id. Ex. G at 69.)
     18
          Included in PSIP is a Virtual Channel Table (VCT) which contains a list of all the
     19
          channels available in the Transport Stream” and attributes such as major and
     20
          minor channel numbers and carrier frequencies. (Id. Ex. G at 75-76; Doc. 1, p. 40
     21
          [‘903 Patent], col. 1:65–2:18.) New to this standard was the adoption of the use of
     22
          “major and minor channel numbers.”
     23
                B.     The Claims Were Previously Invented By, Obvious to, or Published
     24                By Others.
     25         1. Zenith Invented Earlier, Rendering K-Tech’s Claims Invalid.
     26         Employees of Zenith Electronics Corp. invented a Zenith Baseband PSIP
     27 Fixer Translator at least as early as February 1999. (See Ex. 3, Frahm Decl. ¶ 7,
     28 Ex. C). This is before any dated invention evidence of the K-Tech patents, and
                                                                4
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      1 includes the limitations of the asserted claims of the K-Tech patents, assuming K-
      2 Tech’s positions on claim scope. The Zenith system includes an ATSC
      3 demodulator that converts a digital television signal into a transport stream, a
      4 Baseband PSIP Fixer that modifies a major channel number, minor channel
      5 number, or carrier frequency in an incoming PSIP VCT to generate a new PSIP
      6 VCT, and an ATSC Modulator that converts the transport stream into an IF
      7 (intermediate frequency) signal that is then up-converted to RF (radio frequency).
      8 (See Ex. 3, Frahm Decl. ¶ 7 & Ex. C; and Ex. 1, Pierce Decl. ¶ 25.) This
      9 document teaches or renders obvious every element of the asserted claims as
     10 construed by K-Tech, and detailed claim charts are provided in Ex. K to the
     11 Pierce Declaration (See Ex. 1), at pages 38-51 to illustrate this fact. K-Tech
     12 testified that it does not know how the Zenith invention differs from its patents:
     13        Q. Okay. And there are two changes to the terrestrial virtual channel
     14        table that you think it probably means. What are those two possible
     15        changes or three, depending on how you want to look at it?
     16        A. It's written here that carrier frequency, major and minor channel
     17        numbers are possible changes to the PSIP TVCT.
     18        Q. Okay. Isn't that pretty much what's in your patent?
     19        A. I don't know.
     20        Q. You don't know what's in your patent?
     21        A. Please -- please be specific.
     22        Q. Does your patent discuss changing the VCT carrier -- carrier
     23        frequency?
     24        A. Can you re -- restate the question?
     25        Q. Does your patent discuss changing the VCT carrier frequency in
     26        the PSIP data?
     27        A. Yes.
     28
                                                               5
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      1        Q. Does your patent discuss changing major and minor channel
      2        numbers in the VCT in the PSIP?
      3        A. Yes.
      4        Q. Okay. So the question is how is this any different than what is
      5        shown in your patent in that regard?
      6        A. I don't know.
      7 (See Ex. 5, K-Tech Dep., at 175: 25–176:25.)2 Of the elements not explicitly
      8 found in the PSIP Fixer document, such as an amplifier, those items are either
      9 implicitly present, or are familiar elements that would provide predictable results
     10 and therefore be obvious. KSR, 550 U.S. at 416; Ex. 1, Pierce Decl. ¶ 25.
     11        The Zenith PSIP Fixer document is dated February 1999, well prior to K-
     12 Tech’s filing date or any other date of conception by K-Tech for which there is
     13 documented, corroborated proof. Thus, Zenith’s PSIP Fixer is a prior invention.
     14 Zenith began working on a translator project that included a PSIP Fixer by
     15 February of 1999. (Ex. 3, Frahm Decl. ¶ 7.) Zenith’s PSIP Fixer invention was
     16 later embodied in model DTV-TRANS-4 that was sold to LG Electronics in
     17 March 2000 and marketed at the National Association of Broadcasters
     18 Convention in April 2000. (Ex. 3, Frahm Decl. ¶¶ 4-8 & Exs. A, B.) K-Tech has
     19 admitted that the Zenith’s ATSC VSB Translator was marketed at the convention.
     20 (Ex. 4, File History Excerpt, at 1.)
     21
     22
          2
     23  K-Tech did not reserve the right to review or correct its deposition during the
        deposition, nor did K-Tech request a continuance as to any topic. See McNett
     24
        Declaration Document 119-1, ¶ 10. All of the prior art that was the subject of
     25 questioning during the deposition had been earlier provided to K-Tech. See
        McNett Declaration Document 119-1, ¶ 7. Topics No. 28 for K-Tech’s
     26
        deposition was “Knowledge of the art from 1997 through 1999, including the
     27 1997 ATSC standard, as well as . . . . Zenith Electronics, (in particular model
        DTV TRANS-A) . . . . (Ex. 5, K-Tech Dep. Ex. 1, at 12.)
     28
                                                               6
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      1            From April 1999 until the product was shipped in March 2000, Zenith
      2 worked continuously to develop, implement, and test a product including the
      3 features shown in ZEN000008, including the remapping of virtual channel tables
      4 in a television broadcast translator. (Ex. 3, Frahm Decl. ¶ 7-8.3) The thirteen
      5 months “from conception to delivery to a customer, for a company the size of
      6 Zenith, was a remarkable accomplishment.” (Ex. 3, Frahm Decl. ¶ 8.) Therefore
      7 Zenith could not have abandoned, suppressed, or concealed the invention. K-
      8 Tech’s asserted claims are thus invalid under §§ 102(g) and 103(a).
      9
                   2. Divicom Invented Earlier, Rendering K-Tech’s Claims Invalid.
     10
                   In 1998, DiviCom, Inc. began preparing to implement a Program
     11
          Information Table Manager (PIT) that could manipulate PSIP. (Ex. 1, Pierce
     12
          Decl. ¶ 11.) This device would, when combined with other standard components,
     13
          receive an incoming stream having a Virtual Channel Table and subsequently
     14
          generate an outgoing stream having a different Virtual Channel Table from that of
     15
          the incoming stream. (Id.) Divicom promoted and offered such a system for sale
     16
          to customers in 1998 and 1999 (id. at ¶¶ 13-15, 18), and started implementing the
     17
          system in early 1999 (id. at ¶ 17). As shown in the charts attached as Ex. K (pages
     18
          2-15 of the charts) to the Pierce Declaration (Ex. 1), this DiviCom system
     19
          anticipates or renders obvious all of the claims asserted by K-Tech. Therefore, K-
     20
          Tech’s asserted claims are invalid under §§ 102(g) and 103(a).
     21
                   3. Thomcast Invented and Published Earlier, Rendering K-Tech’s Claims
     22
                   Invalid.
     23            Still further, an article published at least by April 22, 19994 anticipates,
     24 under § 102(a)5, several of K-Tech’s much later claims to changing digital
     25
     26 3
              Further evidence of the development effort is in Ex. 2, Kail Decl., Ex. A.
     27   4
         See McNett Declaration, Document 76-3, ¶¶ 7 and 9. An audio recording of
        Clement’s presentation of his article at the April 1999 NAB convention was made
     28
        available to Plaintiff in discovery.
                                                                  7
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      1 television channel assignments for broadcast. (See Ex. 1, Pierce Decl. ¶ 24.) In
      2 Implementing PSIP Solutions by Pierre Clement et al. (“Clement”), a digital head-
      3 end system is described which receives signals from multiple broadcasters. (Ex.
      4 1, Pierce Decl. Ex. F, at 5-6.) In order to resolve possible conflicts in information
      5 received from the two broadcasters, “some proper tables are to be reconstructed
      6 from the incoming PSIP tables.” (Id. at 6, col. 2.) Clement also recognizes that
      7 “the VCT as well as in the MGT parameters related to transportation may need to
      8 be changed. . . . [T]he frequencies . . . may also be affected.” (Id. at 7, col. 2.)
      9         Clement’s teachings describe a system that equates to “a digital television
     10 translator that updates the PSIP table with proper channel and carrier frequency
     11 information.” (‘903, Summary of the Invention, Doc. 1, p. 40, col. 2: 50-55.) As
     12 shown in the charts attached as Ex. K to the Pierce Declaration (Ex. 1), Clement
     13 teaches all of the elements of claims 1, 5, 8 of the ‘903 patent, claims 1-3 of the
     14 ‘533 patent, and claim 1, 9, 13-15 of the ‘893 patent (pages 28-37 of the charts).
     15 The other claims are obvious over Clement in combination with well-known and
     16 universally applied technologies such as power amplifiers. (See id.) The claims
     17 are invalid under §§ 102(a) and 103(a).
     18         C.    The Claims Are an Obvious Application of New Standards
     19               Definitions to Existing Technology.
     20         Invalidity is also demonstrated using the Cartwright et al. patent, U.S. Pat.
                                                               6
     21 No. 6,438,171 (Ex. 1, Pierce Decl. Ex. J) in light of the ATSC standards. The
     22
     23
     24 5
          “A person shall be entitled to a patent unless . . . the invention was . . . described
     25 in a printed publication in this or a foreign country, before the invention thereof
     26 by the applicant . . . .” 35 U.S.C. § 102(a) (2012).
     27 6 Cartwright was assigned to Tandberg Television, and filed in the U.S. in 1997
        and published in 1999. Topics No. 28 for K-Tech’s deposition was “Knowledge
     28
        of the art from 1997 through 1999, including the 1997 ATSC standard, as well as
                                                               8
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      1 ATSC standards are based on European “DVB” standards that include System
      2 Information (SI) and Program Specific Information (PSI) tables that relate to
      3 channel assignments. (Ex. 1, Pierce Decl. ¶ 23.). The Cartwright et al. patent
      4 suggests providing different SI and PSI at output to avoid conflicts in channel
      5 assignments (Ex. 1, Pierce Decl. Ex. J at col. 1:41-54; col. 2:7-12; col. 2:25-33.)
      6         Cartwright teaches processing of “tables of data each of which carries
      7 information about particular parameters, e.g. about the network that the signal is
      8 carried on” (Ex. 1, Pierce Decl. Ex. J at col. 1: 15-22),“the data processor 16 uses
      9 information in the tables extracted from the transport stream by the block 15 and
     10 information entered by the operator . . . and generates new reprocessed tables
     11 which are supplied to the buffer to be multiplexed with the output from the buffer
     12 18.” (Id. at col. 3: 44-49.) Once the ATSC A/65 standard was adopted in the
     13 United States in 1997, including the virtual channel table (VCT) (i.e.
     14 “information… about the network that the signal is carried on”) the
     15 implementation of the Cartwright technology in the United States predictably
     16 results in the very inventions that K-Tech’s later sought to patent. (Ex. 1, Pierce
     17 Decl. ¶ 23.). Element-by-element comparison to the Cartwright patent is
     18 provided in the charts of Ex. K to the Pierce Declaration (Ex. 1) (pages 16-27 of
     19 the charts). K-Tech admits that it does not know how to distinguish the
     20 Cartwright reference:
     21         Q. In this particular patent, it talks about modifying data.
     22
                       And my question is -- if you look at the abstract, the last
     23
                sentence, "The constantly updated tables in the input stream are only
     24
                modified [sic] in respect of the local changes and the updates are
     25
                passed through to the output stream."
     26
     27
          technology from . . . . Tandberg, now Ericsson, . . . .” (Ex. 5, K-Tech Dep. Ex. 1
     28
          at 12.)
                                                               9
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      1         Isn't that the same thing that your PSIP update does in your patent?
      2         A. I don't know.
      3         Q. Can you think of any arguments that might differentiate that from
      4         what you do with your PCIP – PSIP update?
      5         A. I don't know.
      6         Q. Okay. Let's look at Column 3, if you can. There is a paragraph that
      7         starts "the data processor 16." And I'd ask if you see any difference
      8         from that description when compared with what is done in the
      9         products that you make under Defendants' Exhibit 27?
     10
                A. I don't know.
     11
          (Ex. 5, K-Tech Dep. at 146: 6–147: 1.)8 The claims are invalid under § 103(a).
     12
     13
                D.    K-Tech Cannot Think of Any Way Prior Art Devices Function
     14               Without Using the Invention.
     15         K-Tech’s patents claim invention in changing digital television channel
     16 assignments for broadcast. As shown by Howdy Pierce’s declaration, K-Tech’s
     17 patent claims were anticipated by prior art devices, prior art publications, prior art
     18 offers for sale, and prior invention, or were obvious from that prior art. (Ex. 1,
     19 Pierce Decl. ¶¶ 21-25, Ex. K.) In order to comply with the PSIP standards
     20 adopted in 1997, devices offered for sale in 1998 and thereafter that implemented
     21 this standard and allowed for multiplexing of multiple input streams “would
     22 receive an incoming stream having a Virtual Channel Table and subsequently
     23 generate an outgoing stream having a different Virtual Channel Table from that of
     24 the incoming stream.” (Ex. 1, Pierce Decl. ¶ 11.) This is the same function that K-
     25
     26 7 Exhibit 2 in the deposition was a list of K-Tech model numbers, with sales
        figures by year, that allegedly embody (or “implement”) the K-Tech patents. (Ex.
     27
        5, K-Tech Dep. 30: 17-22, 31: 18–32: 1.)
     28 8 See Footnote 6 above.
                                                              10
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      1 Tech much later attempted to patent when it wrote claims on changing digital
      2 television channel assignments for broadcast.
      3         A Lucent Digital Video product announced in March 1999 that it was
      4 demonstrating PSIP software with “the ability to remap channel numbers, which
      5 is important for branding as stations make the transition to digital.” (Ex. 5, K-
      6 Tech Dep. Ex. 13, at 1.) This device appears to embody the asserted claims. (Ex.
      7 1, Pierce Decl. ¶ 22.) K-Tech does not know how this differs from the VCT
      8 manipulation taught in the patents-in-suit:
      9         Q. Okay. This talks about their PSIP software that has the ability to
     10         remap channel numbers. Wouldn't that necessarily involve the
     11         changing of the virtual channel tables in PSIP --
     12         A. I don't know.
     13
                Q. -- for this PSIP software?
     14
                A. I don't know.
     15
                Q. Can you think of any other way that it could accomplish that end?
     16
                A. I don't know.
     17
          (Ex. 5, K-Tech Dep., at 128: 25–129: 9.)9
     18
                Scientific Atlanta’s PowerVu Stream Guide, publically described at least as
     19
          early as April 5, 1999, is described as delivering “program services information
     20
          protocol (PSIP) according to ATSC A165 [sic] standard” and supporting
     21
          “passthrough, modification, and complete replacement of tables allowing local
     22
          identity by the Broadcaster.” (Doc. 121, Ex. 1, Pierce Decl. Ex. H, at 2.) As with
     23
     24
     25
     26 9 Topics No. 28 for K-Tech’s deposition was “Knowledge of the art from 1997
        through 1999, including the 1997 ATSC standard, as well as technology from . . .
     27
        . Scientific Atlanta, . . . .” (Ex. 5, K-Tech Dep. Ex. 1 at 12.)
     28
                                                              11
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      1 the Lucent system, this product appears to embody the asserted claims. (Ex. 1,
      2 Pierce Decl. ¶ 22.)
      3         In Transmultiplexing, Transcontrol and Transscrambling of MPEG-2/DVB
      4 Signal by Bungum (“Bungum”), the author discusses “transmultiplex[ing] signals
      5 from several different sources to make up a new transport stream in a cost-
      6 effective and DVB compliant way.” (Ex. 5, K-Tech Dep. Ex. 16, at 1.) Bungum
      7 describes changes in a Network Information Table (NIT) such as “network name,
      8 the delivery system descriptor (with physical parameters for the multiplex as
      9 frequency etc.)” that “take place if for example a cable network is moving a
     10 multiplex from one channel to another.” (Id. at 3.) An output signal contains
     11 “services from the different input transport streams together with the regenerated
     12 PSI and SI tables.” (Id.) This is, effectively, a channel remapping function,
     13 although not formatted as PSIP. K-Tech does not dispute this:
     14         Q. Apart from the fact that it is for a DVB system as opposed to an
     15         ATSC system, are there any differences between what's described in
     16         that paragraph and your PSIP update that's shown in your patents?
     17         A. I don't know.
     18
                Q. In your patent, you regenerate a PSIP signal table, I should say?
     19
                The VCT table?
     20
                A. Yes.
     21
                Q. Okay. Is that any different than the regeneration of the SI tables
     22
                described in this article?
     23
                A. I don't know.
     24
          (Ex. 5, K-Tech Dep. at 151: 10-20.)10
     25
     26
     27
     28 10 The Bungum reference describes a Tandberg product. See footnote 6.
                                                              12
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      1        These and other prior art publications, patents, and products render K-
      2 Tech’s patents invalid.
      3 III.   DEFENDANTS’ CABLE DEVICES DO NOT INFRINGE.
      4        Construed properly, the claims asserted in K-Tech’s motion are to systems
      5 for changing conflicting digital television channel assignments for broadcast.
      6 Because Defendants’ products are related to signal processing equipment for
      7 cable transmission, and not broadcast, the products do not infringe.
      8        A.     Infringement Determinations Require Claim Construction.
      9        A patent infringement analysis is a two-step process. “The first [step] is
     10 determining the meaning and scope of the patent claims asserted to be infringed .
     11 . . . The second step is comparing the properly construed claims to the device
     12 accused of infringing.” Markman v. Westview Instruments, Inc., 52 F.3d 967, 979
     13 (Fed. Cir. 1995) (en banc).
     14        Claim construction is a question of law to be decided by the court.
     15 Markman v. Westview Instruments, Inc., 517 U.S. 370, 372, 116 S. Ct. 1384, 134
     16 L. Ed. 2d 577 (1996). The Federal Circuit’s seminal en banc decision in Phillips
     17 v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) provides the framework for doing
     18 so. Claims “are generally given their ordinary and customary meaning,” which is
     19 “the meaning that the term would have to a person of ordinary skill in the art in
     20 question at the time of the invention.” Id. at 1312-13. The person of ordinary skill
     21 in the art reads the claim term “not only in the context of the particular claim in
     22 which the disputed term appears, but in the context of the entire patent, including
     23 the specification.” Id. at 1313. Recently, the Court has restated this as “two
     24 limiting factors” for claim construction, “what was invented” as determined by
     25 the specification, and “what exactly was claimed” as determined by the specific
     26 claim language. MySpace Inc. v. GraphOn Corp., 672 F.3d 1250, 1256 (Fed. Cir.
     27 2012).
     28
                                                              13
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      1         In interpreting the claims, the Court should primarily look to intrinsic
      2 evidence, which includes the claim language, the specification, and the
      3 prosecution history. Phillips, 415 F.3d at 1312-17. The specification “is always
      4 highly relevant to the claim construction analysis. Usually, it is dispositive; it is
      5 the single best guide to the meaning of a disputed term.” Id. at 1315. “Properly
      6 viewed, the ‘ordinary meaning’ of a claim term is its meaning to the ordinary
      7 artisan after reading the entire patent.” Id. at 1321. “[T]he prosecution history can
      8 often inform the meaning of the claim language” and includes the prior art cited
      9 during the examination of the patent. See id. at 1317. Thus, “prior art cited in a
     10 patent or cited in the prosecution history of the patent constitutes intrinsic
     11 evidence.” Kumar v. Ovonic Battery Co., Inc., 351 F.3d 1364, 1368 (Fed. Cir.
     12 2003). Similarly, even if a patent does not “expressly adopt” definitions in an
     13 industry standard, “that standard remains relevant in determining the meaning of
     14 the claim term to one of ordinary skill in the art at the time the patent application
     15 was filed, and it is treated as intrinsic evidence for claim construction purposes.”
     16 LG Elecs., Inc. v. Bizcom Elecs., Inc., 453 F.3d 1364, 1375 (Fed. Cir. 2006), rev’d
     17 on other grounds sub nom. Quanta Comp., Inc. v. LG Elecs., Inc., 553 U.S. 617,
     18 128 U.S. 2109, 170 L. Ed. 2d 996 (2008).
     19
                Extrinsic evidence (i.e., everything that isn’t intrinsic) can shed light on the
     20
          relevant art, but where the meaning of the claim is clear based on the intrinsic
     21
          evidence, it is improper to rely on extrinsic evidence. Vitronics Corp. v.
     22
          Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed. Cir. 1996). “In most situations, an
     23
          analysis of the intrinsic evidence alone will resolve any ambiguity in a disputed
     24
          claim term.” Id.
     25
     26         B.     The Claims Relate to Digital Television Signals for Broadcast.
                Defendants submit that several claim terms require construction prior to
     27
          determination of the infringement issue. First, the claim terms “digital television
     28
                                                               14
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      1 signal” (‘903 claims 1, 5, 8, 10) and “digital television RF signal” (‘533 claims
      2 11-12) refer to broadcast digital television signals. Second, the terms “channel
      3 data” (‘903 claims 1, 5, 8, 10) or “attributes for a virtual channel” (‘533 claim 1-
      4 3; ‘893 claims 1, 9, 13-15) or “virtual channel table” (‘533 claims 11-12) refer to
      5 channel data formatted for broadcast digital television. K-Tech claims to have
      6 invented the changing of conflicting digital television channel assignments for
      7 broadcast.
      8        Because the specifications for the asserted patents are nearly identical, for
      9 convenience reference will be made only to the specification of the ‘903 patent
     10 (U.S. Patent 6,785,903, filed in Court as Document 1, pages 34-45). Moreover,
     11 because the ‘903 patent refers to compliance with the ATSC A/65 standard and
     12 the standard is included in the prosecution history, the A/65 standard also
     13 constitutes intrinsic evidence.11
     14
               1. “Digital Television [RF] Signal” (‘903 Claims 1, 5, 8, 10; ‘533 Claims
     15        11-12)
     16        The K-Tech patents consistently refer to broadcast or terrestrial digital
     17 television signal standards. For example, all translator embodiments include an
     18 “8-VSB modulator” labeled 13 (FIG. 2) or 24 (FIG. 4). “8-VSB modulator 13
     19 processes the transport stream having the updated PSIP data according to ATSC
     20 terrestrial broadcast standards.” (Doc. 1, p 42, col. 5: 3-5 (underlining added).)
     21 The second embodiment, Figure 4, describes the transport stream that “is then
     22 sent to 8-VSB modulator 24 and converted into a DTV signal consistent with the
     23 operation as described in the first embodiment.” (Doc. 1, p 42, col. 5: 48-51
     24 (underlining added).)
     25
     26
     27 11 Citations to the A/65 Standard will be to Ex. G to the Pierce Declaration, rather
        than to the prosecution history, in order to eliminate several hundred additional
     28
        pages of material not currently at issue.
                                                              15
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      1         Similarly, the patents describe the problem of two broadcasters using the
      2 same channel numbers in the same geographic regions, which can prevent both
      3 broadcasters’ signals from being received properly (Doc. 1, p 40, col. 2: 37-47.)
      4 A solution supposedly provided by the translator invention is a change to the
      5 channel number of one signal when a broadcaster “may be licensed to broadcast
      6 in the translator’s geographical area, but at a different channel.” (Doc. 1, p 41,
      7 col. 4: 45-47.) Moreover, the third embodiment (FIG. 6) is a distribution network
      8 of translators 31a-31d shown as broadcasting antennas (see Doc. 1, p 42, col. 6:
      9 20-65). While non-broadcast signals can be on the input side of the translator
     10 (Doc. 1, p 41,, col. 4: 9-11), the important fact is that all signals on the output side
     11 of the translator are in a form for broadcasting.
     12         An examination of the claims confirms that the claims are limited to
     13 producing digital television signals at an output that are for broadcast. For
     14 example, the ‘903 claims consistently refer to terrestrial or broadcast standards to
     15 produce the “digital television signal” (claims 5, 28, 39), video data “that
     16 conforms to the USA terrestrial digital television broadcast standard” (claims 7,
     17 30, 41), or a form of VSB modulation (claims 8-9, 31-32, 42-43). 8VSB
     18 modulation is, according to the ATSC A/65 standard, exclusively used in
     19 terrestrial broadcasts. (Ex. 1, Pierce Decl. Ex. G at 22 tbl. 6.5 (indicating that
     20 8VSB modulation is “Not valid” for cable transmissions, and that two cable
     21 modulation formats, 64-QAM and 256-QAM, are “Not valid” for terrestrial
     22 broadcast).)
     23         Although the principle of “claim differentiation” could potentially be
     24 invoked to argue that K-Tech’s claims apply to non-broadcast signals by
     25 comparing, for example, claims 1 and 5 of the ‘903 patent, claim differentiation is
     26 a “limited tool” in claim construction. Curtiss-Wright Flow Control Corp. v.
     27 Velan, Inc., 438 F.3d 1374, 1378 (Fed. Cir. 2006). Particularly, “claim
     28 differentiation ‘can not broaden claims beyond their correct scope’” as described
                                                              16
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      1 in the overall context of the specification. Id. at 1381 (quoting Fantasy Sports
      2 Props. v. Sportsline.com, 287 F.3d 1108, 1115-16 (Fed. Cir. 2002)). Where, as
      3 here, the specification “consistently, and without exception” describes an
      4 interpretation different from that suggested by claim differentiation, the
      5 specification controls. See id. at 1379-81; see also Nystrom v. Trex Co., Inc., 424
      6 F.3d 1136, 1143 (Fed. Cir. 2005) (“Different terms or phrases in separate claims
      7 may be construed to cover the same subject matter where the written description
      8 and prosecution history indicate that such a reading of the terms or phrases is
      9 proper.”). Moreover, claims to two different VSB modulation formats (8-VSB
     10 and 16-VSB, in ‘903 claims 8-9, 31-32, 42-43) suggest that different modulations,
     11 such as QAM used in digital cable and known in the art, could have been, but
     12 were not, claimed.
     13        Therefore, this court should interpret “digital television signal” (‘903
     14 claims 1, 5, 8, 10) and “digital television RF signal” (‘533 claims 11-12) as a
     15 broadcast digital television signal.
     16
               2. “Channel Data,” “Attributes for a Virtual Channel,” and “Virtual
     17        Channel Table” (‘903 Claims 1, 5, 8, 10; ‘533 Claim 1-3, 11-12; ‘893
     18        Claims 1, 9, 13-15)

     19        The K-Tech patents relate to modifying PSIP information in a digital

     20 television broadcast signal. Included in the PSIP table is a subtable called the
     21 “Virtual Channel Table” or “VCT.” (See, e.g,., Doc. 1. p. 40, col. 2: 2-5.) The
     22 ATSC A/65 standard defines separate table formats for broadcast (or “terrestrial”)
     23 signals and those used for cable: “This document describes tables that shall be
     24 applicable to terrestrial (over-the-air) and cable signals. Some PSIP tables apply
     25 to terrestrial broadcast, some apply to cable, and others apply to both.” (Ex. 1,
     26 Pierce Decl. Ex. G at 1.) Specifically, the standard distinguishes between a
     27 broadcast stream with a “Terrestrial Virtual Channel Table (TVCT)” and the
     28 cable stream with a “Cable Virtual Channel Table (CVCT).” (Id. at 1-2.) The
                                                               17
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      1 detailed definitions of the TVCT and CVCT are accordingly different. (See id. at
      2 20, 26.)
      3        As discussed above, the K-Tech patents are exclusively described as
      4 processing digital television signals for broadcast standards. The data tables
      5 associated with a digital television signal or transport stream would therefore be
      6 formatted to comply with the terrestrial broadcast standards. The fact that the K-
      7 Tech patents use “VCT” instead of “TVCT” does not provide for a more general
      8 interpretation, because the VCT is “also referred to as the Terrestrial VCT
      9 (TVCT)” in the A/65 documents describing terrestrial operation. (Id. at 70; see
     10 also id. at 72 (“The minimum amount of information required in an ATSC
     11 terrestrial digital Transport Stream is the VCT [and seven other tables].”).)
     12        Accordingly, this court should interpret “channel data” (‘903 claims 1, 5, 8,
     13 10), “attributes for a virtual channel” (‘533 claims 1-3, ‘893 claims 1, 9, 13-15),
     14 and “virtual channel table” (‘533 claims 11-12) as channel data formatted for
     15 broadcast digital television.
     16        C.     Defendants’ Products Produce Digital Television Signals for Cable.
     17        All of the devices manufactured by Defendants output a signal that is
     18 modulated for transmission over cable. (Doc. 76-4, Miller Decl. ¶ 8; Doc. 78-1,
     19 Koogler Decl. ¶¶ 9–11.) During the processing of these signals, all PSIP data,
     20 including channel data and virtual channel tables, is maintained in a format
     21 consistent with multiplexing and transmission over a cable system according to
     22 cable standards, and not according to broadcast standards. The question of
     23 infringement presented herein is not impacted by the format of inputs, which for
     24 cable companies may be of a variety of formats from baseband, satellite,
     25 broadcast, cable, MMDS, or the like, and may be analog or digital in format.
     26        All of the independent claims asserted by K-Tech require either production
     27 of a “digital television signal” or manipulation of “channel data” or “attributes of
     28 a virtual channel.” As discussed above, those claim terms refer to broadcast
                                                              18
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      1 digital television signals and channel data formatted for broadcast television.
      2 Accordingly, Defendants’ cable products do not literally infringe those claims.
      3 (Doc. 76-4, Miller Decl. ¶ 9; Doc. 78-1, Koogler Decl. ¶¶ 9–11.) Because
      4 infringement of a dependent claim requires infringement of the claims they
      5 depend on, none of the dependent claims asserted by K-Tech in the motion are
      6 literally infringed, either. (Doc. 76-4, Miller Decl. ¶ 9; Doc. 78-1, Koogler Decl.
      7 ¶ 11.)
      8
      9 IV.      CONCLUSION
     10          There is no genuine dispute as to the validity of the patents. The patents-in-
     11 suit are invalid. K-Tech has admitted that it does not know how prior art devices
     12 could have functioned without using K-Tech’s alleged invention. Regarding
     13 literal infringement, the claims are limited to processing signals for broadcast
     14 television, not for cable. Accordingly, there is no dispute that, under this
     15 interpretation, Defendants’ cable devices do not infringe.
     16
                                                                 Respectfully submitted,
     17
          DATED: August 2, 2013
     18
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      1                              CERTIFICATE OF SERVICE
      2         I hereby certify that on August 2, 2013, a copy of the foregoing was served
      3
          via email, by the Court’s electronic filing system, on the following:
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